      Case 4:21-cv-00864-KGB            Document 48     Filed 12/12/22     Page 1 of 17




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

PHARMACEUTICAL RESEARCH AND
MANUFACTURERS OF AMERICA                                                  PLAINTIFF

V.                                  Case No. 4:21-CV-864-BRW

ALAN MCCLAIN, in his official capacity as
Commissioner of the Arkansas Insurance
Department                                                                DEFENDANT

COMMUNITY HEALTH CENTERS OF
ARKANSAS; PIGGOTT COMMUNITY
HOSPITAL                                                                  INTERVENORS


                                            ORDER

       Pending are Plaintiff’s Motion for Summary Judgment on Preemption (Doc. No. 24),

Defendant Leslie Rutledge’s Cross-Motion for Summary Judgment (Doc. No. 32), and

Intervenors’ Cross-Motion for Summary Judgment on Preemption (Doc. No. 35). The parties

have responded and replied.1 For the reasons set out below, Plaintiff’s motion is DENIED.

Intervenors’ cross-motion is GRANTED. Defendant Leslie Rutledge’s cross-motion is DENIED

as MOOT.

I.     BACKGROUND2

       Plaintiff claims Act 1103 enacted by the Arkansas General Assembly in 2021 is

unconstitutional. Plaintiff represents several prescription drug manufacturing companies.

Defendant Alan McClain is the Commissioner of the Arkansas Insurance Department, which is

the agency charged with the implementation and enforcement of Act 1103.


       1
        Doc. Nos. 29, 38, 41, 45.
       2
        nless otherwise noted the Background information comes from the parties’ Statements of
Facts (Doc. Nos. 25, 31, 37, 38, 42).

                                               1
      Case 4:21-cv-00864-KGB           Document 48       Filed 12/12/22      Page 2 of 17




       Plaintiff named Leslie Rutledge in her official capacity as the Attorney General of

Arkansas as a Defendant in this case.3 On September 9, 2022, Ms. Rutledge filed a motion for

summary judgment arguing that she was not a proper party to he lawsuit under Arkansas law.4

On October 5, 2022, the parties filed a stipulation of dismissal where they agreed that Ms.

Rutledge has no authority to enforce the relevant Arkansas law at issue, and requested that she

be dismissed.5 On that same day, I granted the dismissal.6 Accordingly, Ms. Rutledge’s Cross-

Motion for Summary Judgment is DENIED as MOOT.

       Intervenor Piggott Community Hospital (“PCH”) is located in Piggott, Arkansas, and is

designated under the Medicare program as a critical access hospital (“CAH”). PCH is owned

and operated by the City of Piggott and participates in the 340B Program based on its

governmental ownership and CAH status.7

       Intervenor Community Health Centers of Arkansas (“CHCA”) is a non-profit

organization comprised of eleven community health centers located in Arkansas. All of CHCA’s

members participate in the 340B Program by receiving funding under Section 330 of the Public

Health Service Act (“PHSA”).8

       This case arises out of a dispute between drug manufacturers and the Arkansas Insurance

Department (“AID”) about the use of “contract pharmacies” as a part of the Federal 340B drug

program. Plaintiff contends that these contract pharmacies “have found illegal ways to leverage

       3
        Doc. No.1
       4
        Doc. No. 32.
       5
        Doc. No. 39.
       6
        Doc. No. 40.
       7
           42 U.S.C. §§ 256b(a)(4)(N), 1395i–4(c)(2); 42 C.F.R. §§ 485.601–485.647.
       8
        42 U.S.C. §§ 254b, 256b(a)(4)(A), 1396d(l).

                                                2
       Case 4:21-cv-00864-KGB           Document 48        Filed 12/12/22      Page 3 of 17



the 340B discounts to their financial benefit, often without assisting the vulnerable patient

populations that the 340B program was intended to help.”9

       Plaintiff contends that provisions found in Act 1103 inappropriately regulate and alter the

Federal 340(B) Program, impose requirements that directly conflict the program, and regulate

commercial transactions occurring entirely outside of Arkansas.10 Plaintiff argues that Act 1103

is invalid under both the Supremacy and Commerce Clauses of the U.S. Constitution. Plaintiff

seeks declaratory judgment and injunctive relief.11

       On September 29, 2021, Plaintiff filed its Complaint.12 On August 9, 2022, the parties

filed an joint motion to stay the proceedings on the commerce clause claim until the preemption

claim has been resolved.13 I granted the motion on that same day.14 So, the only issue ripe for

consideration at this point is preemption.

       On August 8, 2022, Plaintiff filed its Motion for Summary Judgment on Claim I.15 First,

Plaintiff contends that the 340B Program is strictly a federal scheme that is not subject to state

regulation. Second, Plaintiff argues that Act 1103 conflicts with the 340B Program by

essentially adding “contract pharmacies” to the list of “covered entities” as defined in the statute.

Third, Plaintiff asserts that Act 1103 conflicts with the enforcement authority granted to HHS

and its agency the Health Resources and Services Administration (“HRSA”) by establishing a


       9
        Doc. No. 1, p. 2.
       10
            Id.
       11
            Id.
       12
            Id.
       13
            Doc. No.27.
       14
            Doc. No 28.
       15
            Doc. No. 24.

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       Case 4:21-cv-00864-KGB            Document 48       Filed 12/12/22     Page 4 of 17



separate enforcement scheme with additional penalties. Fourth, Plaintiff contends that Act 1103

conflicts with the Federal Food, Drug, and Cosmetic Act (“FDCA”) “by mandating how

federally regulated drugs may be distributed in Arkansas” without regard to federal safety

standards.16

       In response, Defendant and Intervenors seek a narrow interpretation of the provisions in

Act 1103 and contend that even if I agree with Plaintiff’s broad interpretation of Act 1103, a fact

issue remains on the ownership status of the discounted drugs as they are distributed through the

system.17

       On September 9, 2022, Intervenors filed a Cross-Motion for Summary Judgment on

Claim I.18 Intervenors contend that the 340(B) Program only regulates drug pricing, and the

disputed provisions in Act 1103 only regulate drug distribution in Arkansas, so no preemption

exists. I agree.

II.    SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriate only when there is no genuine issue of material fact, so

that the dispute may be decided on purely legal grounds.19 The Supreme Court has established

guidelines to assist trial courts in determining whether this standard has been met:

       The inquiry performed is the threshold inquiry of determining whether there is the
       need for a trial -- whether, in other words, there are any genuine factual issues
       that properly can be resolved only by a finder of fact because they may
       reasonably be resolved in favor of either party.20



       16
            Doc. No. 26, p. 13.
       17
            Doc. Nos. 30, 35.
       18
            Doc. Nos. 35, 36.
       19
            Holloway v. Lockhart, 813 F.2d 874, 879 (8th Cir. 1987); Fed R. Civ. P. 56.
       20
            Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986).

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       Case 4:21-cv-00864-KGB            Document 48       Filed 12/12/22     Page 5 of 17



       The Court of Appeals for the Eighth Circuit has cautioned that summary judgment is an

extreme remedy that should only be granted when the movant has established a right to the

judgment beyond controversy.21 Nevertheless, summary judgment promotes judicial economy

by preventing trial when no genuine issue of fact remains.22 This court must view the facts in the

light most favorable to the party opposing the motion.23 The Eighth Circuit has also set out the

burden of the parties in connection with a summary judgment motion:

       [T]he burden on the party moving for summary judgment is only to demonstrate,
       i.e.,“[to point] out to the District Court,” that the record does not disclose a
       genuine dispute on a material fact. It is enough for the movant to bring up the
       fact that the record does not contain such an issue and to identify that part of the
       record which bears out his assertion. Once this is done, his burden is discharged,
       and, if the record in fact bears out the claim that no genuine dispute exists on any
       material fact, it is then the respondent’s burden to set forth affirmative evidence,
       specific facts, showing that there is a genuine dispute on that issue. If the
       respondent fails to carry that burden, summary judgment should be granted.24
       Only disputes over facts that may affect the outcome of the suit under governing
       law will properly preclude the entry of summary judgment.25




III.   DISCUSSION

       A.         340(B) Drug Program




       21
            Inland Oil & Transport Co. v. United States, 600 F.2d 725, 727 (8th Cir. 1979).
       22
            Id. at 728.
       23
            Id. at 727-28.
       24
        Counts v. MK-Ferguson Co., 862 F.2d 1338, 1339 (8th Cir. 1988) (quoting City of Mt.
Pleasant v. Associated Elec. Coop., 838 F.2d 268, 273-74 (8th Cir. 1988) (citations omitted)).
       25
            Anderson, 477 U.S. at 248.

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       Case 4:21-cv-00864-KGB              Document 48      Filed 12/12/22     Page 6 of 17



       The 340B Drug Program, is a federal prescription drug discount plan established by

Congress in 199226. The Secretary of HHS administers the program. The 340(B) Program

requires, as a condition of a manufacture’s participation in Medicaid and Medicare Part B, that it

sell its outpatient drugs at a discounted price to “covered entities,” which are defined by statute

to include 15 types of public and not-for-profit hospitals, community centers, and other federally

funded clinics serving low-income patients.27

       Specifically, all drug manufacturers participating in the 340B Program must “offer each

covered entity covered outpatient drugs for purchase at or below the applicable ceiling price if

such drug is made available to any other purchaser at any price.”28 The 340B Program “ceiling

prices,” which are calculated according to a prescribed statutory formula,29 are lower than the

amounts other purchasers would pay. These drug pricing discounts are intended to “enable

[covered entities] to stretch scarce Federal resources as far as possible, reaching more eligible

patients and providing more comprehensive services.”30

       To participate in the 340B Program, manufacturers are required to sign a contract with

HHS known as the Pharmaceutical Pricing Agreement (“PPA”), which incorporates the statutory

obligations of the 340B Program and expresses the manufacturers’ agreement to abide by those

obligations.31 If, at some point, HHS determines that a drug manufacturer has failed to comply


       26
        See Veterans Health Care Act of 1992, Pub. L. No. 102-585, § 602, 106 Stat. 4943,
4967-71 (codified as amended at 42 U.S.C. § 256b).
       27
       See Veterans Health Care Act of 1992, Pub. L. No. 102-585, § 602, 106 Stat. 4943,
4967–71 (1992), codified at § 340B Public Health Service Act, 42 U.S.C. § 256b (1992).
       28
            42 U.S.C. § 256b(a)(1).
       29
            See id. § 256b(a)(1), (a)(4), (b)(1).
       30
            H.R. Rep. No. 102-384, pt. 2 at 12 (1992) (conf. report).
       31
            See 42 U.S.C. § 1396r-8(a)(1), (5).

                                                    6
       Case 4:21-cv-00864-KGB            Document 48       Filed 12/12/22      Page 7 of 17



with its 340B Program obligations, the manufacturer’s PPA can be terminated, which prevents

the manufacturer from receiving coverage for its drugs under Medicare and Medicaid.32

       Under the 340B Program, covered entities are prohibited from requesting “duplicate

discounts or rebates,” which means that covered entities may not request both a 340B Program

discount and a Medicaid rebate for the same drug.33 Covered entities are also prohibited from

engaging in “diversion,” which is defined by statute as the practice of “resell[ing] or otherwise

transfer[ring]” a covered outpatient drug “to a person who is not a patient of the entity.”34

       B.         Act 1103

       Plaintiff’s organization permitted 340B discounted drugs to be shipped to pharmacies

under contract with covered entities and treated contract pharmacies the same as in-house

pharmacies for over 25 years.35 Beginning in July 2020, drug manufacturers began

implementing policies that either eliminated or restricted distribution of 340B drugs delivered to

contract pharmacies through bill-to-ship contract pharmacy arrangements.36 To date, eighteen

manufacturers have unilaterally imposed restrictions the ability of covered entities to access

340B drugs through contract pharmacy arrangements.37 In May 2021, the Arkansas General

Assembly enacted Act 1103 to protect contract pharmacy arrangements in Arkansas.

       Plaintiff challenges two specific provisions found in Act 1103 enacted by the Arkansas

General Assembly in 2021. The relevant provisions of the act provide:


       32
            See id. § 1396r-8(b)(4)(B)(v); 61 Fed. Reg. 65,406, 65,412– 65,413 (Dec. 12, 1996).
       33
            42 U.S.C. § 256b(a)(5)(A).
       34
            Id. § 256b(a)(5)(B).
       35
            Doc. No. 37, p. 6.
       36
            Id.
       37
            Id.

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       Case 4:21-cv-00864-KGB             Document 48      Filed 12/12/22     Page 8 of 17



       A pharmaceutical manufacturer shall not:

       (1) Prohibit a pharmacy from contracting or participating with an entity
       authorized to participate in 340B drug pricing by denying access to drugs that are
       manufactured by the pharmaceutical manufacturer; or

       (2) Deny or prohibit 340B drug pricing for an Arkansas-based community
       pharmacy that receives drugs purchased under a 340B drug pricing contract
       pharmacy arrangement with an entity authorized to participate in 340B drug
       pricing.38

       Additionally, the AID has promulgated Rule 123, 340B Drug Program

Nondiscrimination Requirements which includes the same language found in Ark. Code Ann. §

23-92-604(c)39 and defines “340B drug pricing” as “the acquisition and delivery of 340B-priced

drugs as established under section 602 of the Veterans Health Care Act of 1992, Pub. L. No.

102-585.”40

       C.          340(B) Program Preemption

       The federal preemption doctrine stems from the Constitution’s Supremacy Clause, which

states that laws of the United States made under the Constitution are the “supreme law of the

land.”41 “[S]tate laws that interfere with, or are contrary to the laws of congress, made in

pursuance of the constitution are invalid,” or preempted.42 “Whether a particular federal statute

preempts state law depends upon congressional purpose.”43 In analyzing the issue of




       38
            Ark. Code Ann. § 23-92-604(c).
       39
            Rule 123 340B Drug Program Nondiscrimination Requirements Part IV(9)(c)(1)-(2).
       40
            Id. at Part II (7).
       41
            U.S. Const. Art. VI, cl. 2.
       42
            Wis. Pub. Intervenor v. Mortier, 501 U.S. 597, 604 (1991).
       43
         In re Aurora Dairy Corp. Organic Milk Mktg. & Sales Practices Litig., 621 F.3d 781,
791 (8th Cir. 2010).

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       Case 4:21-cv-00864-KGB              Document 48       Filed 12/12/22      Page 9 of 17



preemption, the Supreme Court is highly deferential to state law in areas traditionally regulated

by the states.44

        The Eighth Circuit has stated that “there are three primary ways that federal law may

preempt state law.”45 First, federal law may preempt state law where Congress has expressly

stated that it intends to prohibit state regulation in a particular area.46 Second, federal law may

preempt state law where Congress has implicitly preempted state regulation by the “occupation

of a field.”47 A field is occupied when the federal regulatory scheme is “so pervasive as to make

reasonable the inference that Congress left no room for the States to supplement it.”48 Finally,

even if Congress has not completely precluded the ability of states to regulate in a field, state

regulations are preempted if they conflict with federal law.49 Such a conflict exists “when it is

impossible to comply with both state and federal law, or where the state law stands as an

obstacle to the accomplishment of the full purposes and objectives of Congress.”50 To determine

Congressional intent, courts “may consider the statute itself and any regulations enacted pursuant




        44
        N.Y. State Conf. of Blue Cross & Blue Shield Plans v. Travelers Ins. Co., 514 U.S. 645,
654-55 (1995).
        45
             N. Natural Gas Co. v. Iowa Utils. Bd., 377 F.3d 817, 821 (8th Cir. 2004).
        46
             Id. (citing Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 541 (2001)).
        47
             Id.
        48
             Id. (citing Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947)).
        49
             Id. (citing Silkwood v. Kerr–McGee Corp., 464 U.S. 238, 248 (1984)).
        50
             Id.

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      Case 4:21-cv-00864-KGB             Document 48       Filed 12/12/22      Page 10 of 17



to the statute’s authority.”51 Plaintiff bears the burden of proving preemption.52 The 340(B)

Program contains no express preemption clause, so only implied preemption applies to this case.

                  1.      Field Preemption

       Even if a federal statute does not expressly preempt a state law, it may do so through

field preemption “when the scope of a statute indicates that Congress intended federal law to

occupy a field exclusively.”53 The critical question is whether the “federal law so thoroughly

occupies a legislative field as to make reasonable the inference that Congress left no room for the

States to supplement it.”54

       Plaintiff contends that the 340B Program is a solely federal scheme. Plaintiff cites Astra

USA, Inc. v. Santa Clara Cnty., Cal.,55 to support its position that “Congress intended to operate

the 340B Program ‘on a uniform, nationwide basis.’”56

       In Astra, a collection of “covered entities” sued drug manufacturers for alleged

overcharges on 340B Program-covered drugs.57 Both sides “conceded that Congress authorized

no private right of action under § 340B for covered entities who claim they have been charged

prices exceeding the statutory ceiling.”58 Unable to sue the drug companies directly under the


       51
            Aurora Dairy, 621 F.3d at 792.
       52
          Pharm. Care Mgmt. Ass’n v. Wehbi, 18 F.4th 956, 967 (8th Cir. 2021) (citing Williams
v. Nat’l Football League, 582 F.3d 863, 880 (8th Cir. 2009).
       53
            Freightliner Corp. v. Myrick, 514 U.S. 280, 287 (1995).
       54
            Cipollone v. Liggett Grp., Inc., 505 U.S. 504, 517 (1992) (quotation omitted).
       55
            563 U.S. 110, 121(2011).
       56
          Doc. No. 26, p. 26. 563 U.S. at 120; see also id.at 113-14 (rejecting attempt by covered
entities to enforce 340B Program through suit against manufacturers alleging breach of contract).
       57
            Id.
       58
            Id. at 113.

                                                  10
      Case 4:21-cv-00864-KGB             Document 48      Filed 12/12/22     Page 11 of 17



340B Program, the covered entities pursued their claims under a breach of contract theory as

third-party beneficiaries of contracts between HHS and drug companies that create 340B

Program discount-ceiling prices.59

       The Supreme Court was not persuaded. The Court pointed to the fact that Congress had

provided an alternative administrative process in which to resolve disputes under the 340B

Program.60 Specifically, Congress had responded to reports of inadequate 340B Program

oversight and enforcement, by providing for the establishment of an ADR process within the

agency.61 “Congress thus opted to strengthen and formalize” the agency’s enforcement “to make

the new adjudicative framework the proper remedy for covered entities complaining of

‘overcharges and other violations of the discounted pricing requirements,’” with the agency’s

resolution of ADR complaints subject to review under the APA.62

       I am not convinced that the Supreme Court’s narrow holding concerning third-party

lawsuits in Astra makes the 340B Program a solely federal scheme immune from any type of

state regulation.

       I note that the 340B Program is silent on what role (if any) contract pharmacies play in its

discount drug scheme. Pharmacies are not mentioned anywhere in it—neither in 42 U.S.C. §

256b(a)(1), which contains the “sum total of the statute’s language regarding manufacturers’

obligations,” nor in § 256b(a)(4), which defines “covered entity.” As the district court in

AstraZeneca Pharms. LP v. Becerra observed:




       59
            Id.
       60
            Id. at 121
       61
            Id. at 121-22 (citing 42 U.S.C. § 256b(d)).
       62
            Id.

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      Case 4:21-cv-00864-KGB              Document 48      Filed 12/12/22     Page 12 of 17



        When a statute does not include even a single reference to the pertinent word (e.g.,
        “pharmacy”), it is highly unlikely (if not impossible) that the statute conveys a
        single, clear, and unambiguous directive with respect to that word. Here, the absence
        of any reference to ‘pharmacies’ is a strong indication that the statute does not
        compel any particular outcome with respect to covered entities’ use of pharmacies.63

HHS stated in its 1996 Guidance that the 340B Program “is silent as to permissible drug

distribution systems” and contains “many gaps.”64 Additionally, the practice of pharmacy is an

area traditionally left to state regulation.65

        Based on the record, Arkansas’s covered entities have filled in this gap through contract

pharmacy arrangements. The 340B Program is not “so pervasive as to make reasonable the

inference that Congress left no room for States” to protect their specific drug distribution

systems.66 This is not “a field in which the federal interest is so dominant that the federal system

will be assumed to preclude enforcement of state laws . . . .”67 Accordingly, Act 1103 is not

subject to field preemption under the 340(B) Program.

                   2.     Impossibility Preemption

        To establish impossibility preemption, a party must be unable to comply with both

federal law and state law.68 When determining whether impossibility preemption implies, a court

must look to whether it is lawful under federal law to accomplish what the state law requires.69



        63
             543 F. Supp. 3d 47, 59 (D. Del. 2021).
        64
             61 Fed. Reg. at 43,549.
        65
             Pharm. Care Mgmt. Ass’n v. Wehbi, 18 F.4th 956, 972 (8th Cir. 2021).
        66
             Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947).
        67
             Id.
        68
         PLIVA, Inc. v. Mensing, 564 U.S. 604, 618 (2011); Merck Sharp & Dohme Corp. v.
Albrecht, 139 S.Ct. 1668, 1672 (2019).
        69
             See id.

                                                  12
      Case 4:21-cv-00864-KGB             Document 48       Filed 12/12/22      Page 13 of 17



The 340B Program provides that “a covered entity shall not resell or otherwise transfer” drugs to

any “person who is not a patient of the entity.”70 Plaintiff contends that this provision bars the

distribution of 340B-discounted drugs by covered entities to anyone other than their patients,

which Plaintiff contends Act 1103 requires. I disagree.

       Under the“replenishment model,” which is used in Arkansas, manufacturers ship

prescription drugs to pharmacies for dispensing to all patients. At the time of dispensing, the

pharmacies do not know whether the prescriptions were written by medical providers at covered

entities and qualify for 340B discounts. After 340B eligibility is later determined (typically

using an algorithm), the manufacturers process charge backs to account for the 340B Program

drugs’ discounted prices. The covered entities never physically possess the drugs.71

       Plaintiff contends Act 1103 requires manufacturers to participate in diversion because the

drugs are delivered to contract pharmacies, instead of the covered entities’ patients.

       However, to the extent that contract pharmacy arrangements can be characterized as

transfers or resales to non-patients, Plaintiff’s position is not a reasonable construction of the

statute. The 340B Program’s non-transfer/resale provision refers to situations where medications

are given to individuals who are not receiving health care services from covered entities or are

receiving services inconsistent with the type of services for which the covered entity qualified

for 340B status.72

       I note that it is beyond my purview to determine whether purchases made using the

replenishment model constitute diversion as Congress explicitly required manufacturers to


       70
            42 U.S.C. § 256b(a)(5)(B).
       71
            See AstraZeneca Pharms. LP v. Becerra, 543 F. Supp. 3d 47, 61 (D. Del. 2021).
       72
        See Sanofi-Aventis U.S., LLC v. U.S. Dep’t of Health & Hum. Servs., 570 F. Supp. 3d
129, 194 n. 50. (D.N.J. 2021).

                                                  13
      Case 4:21-cv-00864-KGB            Document 48        Filed 12/12/22      Page 14 of 17



address diversion and duplicate-discounting concerns in the ADR process and to audit covered

entities before availing themselves of the ADR process.73 There can be no dispute that Congress

mandated that any concerns regarding diversion be addressed first through ADR procedures, not

in federal court. Accordingly, Act 1103 does not require illegal conduct under the 340(B)

Program and is not preempted under the impossibility doctrine.

                 3.      Obstacle Preemption

       Obstacle preemption requires a more thorough analysis than impossibility preemption.

The Supreme Court has previously said:

       What is a sufficient obstacle is a matter of judgment, to be informed by examining
       the federal statute as a whole and identifying its purpose and intended effects: For
       when the question is whether a Federal act overrides a state law, the entire scheme
       of the statute must of course be considered and that which needs must be implied is
       of no less force than that which is expressed. If the purpose of the act cannot
       otherwise be accomplished—if its operation within its chosen field else must be
       frustrated and its provisions be refused their natural effect—the state law must yield
       to the regulation of Congress within the sphere of its delegated power.74

       Plaintiff argues that Act 1103 is preempted because it places contract pharmacies on the

340(B) Program’s covered entities list and interferes with the 340B Program’s enforcement

mechanism, thereby undermining the purpose of the 340B Program. In response, Defendants

contend that Act 1103 only applies to the distribution of the discounted drugs and the contracts

between covered entities and pharmacies within the state, not pricing.

       I agree with the Defendant and Intervenors. Even though the title of Act 1103 includes

pricing in its name, the effects of the disputed provisions are limited to the distribution of and

access to the discounted drugs. Plaintiff has provided no evidence that Act 1103 interferes with



       73
            42 U.S.C. § 256b(d)(3)(B)(iv).
       74
        Crosby v. National Foreign Trade Council, 530 U.S. 363, 373 (2000) (internal citations
and quotations omitted).

                                                 14
      Case 4:21-cv-00864-KGB                 Document 48   Filed 12/12/22     Page 15 of 17



PPA agreements between covered entities and HHS, or, in effect, adds contract pharmacies to the

covered entities list. The drug-ceiling price has already been set at the point Act 1103 becomes

applicable to any specific drug shipment. Act 1103 has no bearing on setting the ceiling price.

Further, the penalties that may be assessed for violations of Act 1103 relate to activities outside

the scope of the 340(B) Program’s enforcement procedures which are focused overcharging

covered entities.75 Accordingly, Act 1103 is not obstacle to the purpose and objective of the

340(B) Program.

       D.         FDCA Preemption

       Plaintiff contends that Act1103 is preempted by the FDCA’s Risk Evaluation and

Mitigation Strategies (“REMS”) program. The REMS program was established in 2007 to ensure

the safe use of potentially high-risk products that might otherwise not be approved for use.76 The

Food and Drug Administration (“FDA”) can require a REMS when “necessary to ensure that the

benefits of the drug outweigh the risks of the drug.”77 To evaluate a REMS program, the FDA

must consider whether the REMS requirements are “unduly burdensome on patient access to the

drug,” whether they “minimize the burden on the health care delivery system,” and whether the

REMS program is “compatible with established distribution, procurement, and dispensing

systems for drugs.”78 Under the statute, the FDA is permitted to require, that “pharmacies . . .

that dispense [a] drug [covered by a REMS] are specially certified” or that a drug “be dispensed




       75
            Id. at 256b(a)(1), (a)(4), (b)(1).
       76
            21 U.S.C. § 355-1.
       77
            Id. § 355-1(a).
       78
            Id. § 355-1(f)(2)(C), (D)(ii).

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        Case 4:21-cv-00864-KGB               Document 48        Filed 12/12/22   Page 16 of 17



to patients only in certain health care settings.”79 A manufacturer who violates a REMS is

subject to federal monetary penalties and potentially criminal liability.80

         Plaintiff contends that Act 1103 requires manufacturers to provide contract pharmacies

the 340(B) Program’s discounted drugs regardless of whether the drug is subject to the REMS

program. Plaintiff argues that manufacturers are forced to choose between either violating

federal law or state law.

         However, the FDCA does not include any statement preempting state laws governing

distribution of prescription drugs.81 Nothing in Act 1103 prevents manufacturers from limiting

the pharmacies that may dispense drugs as required under a REMS. Act 1103 does not regulate

drug safety. Again, Act 1103 prevents drug manufacturers from refusing to supply 340(B)

Program discounted drugs ordered by covered entities solely because the covered entity has an

arrangement with any number of contract pharmacies. Act 1103 and the FDCA regulate

completely different subject matter and activities. Accordingly, the FDCA does not preempt Act

1103.

         Act 1103 is not preempted by either the 340(B) Program or the FDCA. The parties are

directed to submit an agreed proposed briefing schedule on the remaining commerce clause

claim within five days of the date of this Order. The January 3, 2023 trial date is continued, and

will be reset by a revised scheduling to be entered at a future date.




         79
              Id. § 355-1(f)(3)(B)–(C).
         80
              See id. § 352(y); id. § 355(p); id. § 333(f)(4); id. § 333(a).
         81
         Wyeth v. Levine, 555 U.S. 555, 567 (2009); Lefaivre v. KV Pharm. Co., 636 F.3d 935,
941 (8th Cir. 2011).

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         Case 4:21-cv-00864-KGB        Document 48       Filed 12/12/22    Page 17 of 17



                                         CONCLUSION

          For the reasons set out above, Plaintiff’s Motion for Summary Judgment on Claim I

(Doc. No. 24) is DENIED. Intervenors’ Cross-Motion for Summary Judgment on Claim I (Doc.

No. 35) is GRANTED. Defendant Leslie Rutledge’s Cross-Motion for Summary Judgment

(Doc. No. 32) is DENIED as MOOT. The case will proceed to the Commerce Clause claim

issue.

          IT IS SO ORDERED this 12th day of December, 2022.



                                                       BILLY ROY WILSON
                                                UNITED STATES DISTRICT JUDGE




                                                17
